






						NO. 12-07-00264-CR



IN THE COURT OF APPEALS
	


TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS


MATTHEW MCMURRAY,§
		APPEAL FROM THE SEVENTH

APPELLANT


V.§
		JUDICIAL DISTRICT COURT OF


THE STATE OF TEXAS,

APPELLEE§
		SMITH COUNTY, TEXAS

                                                                                                                                                            

MEMORANDUM OPINION


	Matthew McMurray appeals the trial court's judgment sentencing him to twenty years of
imprisonment for indecency with a child.  In one issue, Appellant argues that he received an
unconstitutionally disproportionate sentence.  We affirm.


Background

	Appellant was charged by indictment with having committed the offense of indecency with
a child.  After consulting with his appointed counsel, Appellant pleaded guilty to the offense.  The
trial court found Appellant guilty as charged and assessed his punishment at twenty years of
imprisonment.  This appeal followed.


Disproportionate Sentence

	Appellant contends that his sentence is unconstitutionally disproportionate to the evidence
presented. (1)  Rule 33.1(a) of the Texas Rules of Appellate Procedure states as follows:


As a prerequisite to presenting a complaint for appellate review, the record must show that:


	(1) the complaint was made to the trial court by a timely request, objection, or motion that:

		(A) stated the grounds for the ruling that the complaining party sought from the trial
court with sufficient specificity to make the trial court aware of the complaint,
unless the specific grounds were apparent from the context; and

		(B) complied with the requirements of the Texas Rules of Civil or Criminal
Evidence or the Texas Rules of Civil or Appellate Procedure; and


	(2) the trial court:

		(A) ruled on the request, objection, or motion, either expressly or implicitly; or

		(B) refused to rule on the request, objection, or motion, and the complaining party
objected to the refusal.



Tex. R. App. P. 33.1(a).  The requirements of Rule 33.1 apply to the issue raised here by Appellant.
See Willis v. State, 192 S.W.3d 585, 595-97 (Tex. App.-Tyler 2006, pet. ref'd).

	We have reviewed the record and have found no request, objection, or motion raising the
complaint now brought on appeal.  Therefore, this matter is not preserved for appellate review.  See
Tex. R. App. P. 33.1(a).  We overrule Appellant's sole issue.


Disposition

	We affirm the judgment of the trial court.


								    SAM GRIFFITH   

									   Justice



Opinion delivered July 9, 2008.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.



(DO NOT PUBLISH)
1.  Appellant initially couches his issue as based upon principles of evidentiary sufficiency; however, the
issue actually presented in Appellant's argument is that of an unconstitutionally disproportionate sentence.


